            Case 2:23-cv-00580-APG-EJY Document 4-1 Filed 04/17/23 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA


                       NOTICE REGARDING TEMPORARY SUSPENSION
                                 OF LOCAL RULE IC 2-1(c)
                      SUBMISSION OF MANUAL DOCUMENTS BY EMAIL

In further response to the challenges presented by COVID-19 the Court has agreed to accept
documents submitted for filing by email.
    • All documents submitted for filing MUST be in PDF format and cannot exceed 15mb in
       size.
    • CD/DVD and large or hard exhibits must still be filed manually.
    • The file date of the documents emailed will be the date of the email.
    • Parties must still provide manual service of their documents to the other parties in the case.
    • You may email documents to be filed as follows:

      Las Vegas filings may be emailed to: lv_public_docketing@nvd.uscourts.gov

      Reno filings may be emailed to: reno_public_docketing@nvd.uscourts.gov



                            CONSENT TO RECEIVE NOTICES OF
                             ELECTRONIC FILINGS BY EMAIL

Attached is a form to consent to receive notification of orders, notices, and other documents
that are filed in your case by email. If you would like to elect to receive service of orders and
documents by email rather than through the U.S. Mail, please complete the attached form and
file it manually with the Clerk's Office. If you do not consent to receive notices by email, you
will continue to receive the documents through the U.S. Mail.
      Case 2:23-cv-00580-APG-EJY Document 4-1 Filed 04/17/23 Page 2 of 3


                         UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA

               CONSENT FOR ELECTRONIC SERVICE OF DOCUMENTS


       I, __________________________________________, am representing myself and
                        (Print Full Name)
consent to receive electronic notices of filings and/or delivery of documents by email.

I am providing my email address for the purpose of sending me electronic notice of any Order or
other filing in my case with a link to the filed document. I understand that hard (paper) copies of
orders will no longer be sent to me by the Court.

I understand that if my email or mailing address changes, it is my responsibility to notify the
Court in writing of my new email or mailing address.

I understand that email filters (SPAM filters) may interfere with my receipt of email notifications
and I will ensure that my email will not filter out messages from cmecf@nvd.uscourts.gov.

I have already registered or will immediately register for a PACER account (Public Access to
Court Electronic Records).

I understand that consenting to service by email does not authorize me to file my documents
electronically. I may request the court’s authorization to register as an electronic filer by filing a
separate written motion request (LR IC 2-1(b)).


Date: ___________________                      __________________________________________
                                               Signature

Email Address (Please print legibly):



Confirm Email Address:



Mailing Address:



Telephone Number:



Case Number(s):
       Case 2:23-cv-00580-APG-EJY Document 4-1 Filed 04/17/23 Page 3 of 3



                              INSTRUCTIONS
            FOR CONSENT FOR ELECTRONIC SERVICE OF DOCUMENTS

1) Mail this completed Consent form and any changes of mailing and/or email address to the
   division of the Clerk’s Office in which your case was originally filed.

              U.S. District Court Clerk
              Lloyd D. George U.S. Courthouse
              333 Las Vegas Boulevard South, Room #1334
              Las Vegas, NV 89101

              U.S. District Court Clerk
              Bruce R. Thompson U.S. Courthouse
              400 S. Virginia Street, Room #301
              Reno, NV 89501

2) To register for a PACER Account go to https://pacer.psc.uscourts.gov/pscof/registration.jsf


Important information regarding PACER usage and electronic notices from the Court:

   •   A Notice of Electronic Filing (NEF) will be sent to your email address each time something
       is filed in your case. This notice will contain a document number that is a hyperlink to the
       document in PACER.

   •   Pursuant to PACER’s policy, you are allowed one “free look” at the document. It is highly
       recommended that you print or download the document the first time you view the
       document. After the one “free look”, normal PACER fees will apply.

   •   The one “free look” to the hyperlink will expire after you look at the document the first
       time or after 15 days, whichever occurs first. Please check your email frequently.

   •   Additional electronic access to the docket sheet or case documents costs $0.10 per page.

   •   PACER has a quarterly billing cycle (every 3 months). If your PACER quarterly usage is
       $30.00 or less, your bill will be waived.
